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[counsel on signature page]




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,                           Lead Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiff,   JOINT STIPULATION AND [PROPOSED]
                                                  ORDER REGARDING SCHEDULE
       v.
                                                  Judge: Hon. Vince Chhabria
META PLATFORMS, INC.,                             Date: January 25, 2024
                                                  Time: 1:30 p.m.
                                    Defendant.    Location: Videoconference




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       Plaintiffs Richard Kadrey, Sarah Silverman, Christopher Golden, Michael Chabon, Ta-

Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang, Matthew Klam, Laura

Lippman, Rachel Louise Snyder, Ayelet Waldman, and Jacqueline Woodson (collectively,

“Plaintiffs”) and Defendant Meta Platforms, Inc. (collectively, the “Parties”) jointly stipulate and

agree, subject to the Court’s approval, to the proposed schedule set forth in the attached Exhibit

A, which is in the form of a proposed order.

       WHEREAS, on January 12, 2024, the Court entered an order (“Order”) directing the

Parties to file stipulated or competing proposed schedules “which culminate[] in a MSJ hearing

in January/February 2025 with a CMC to be scheduled 2-3 weeks after.” (ECF No. 74);

       WHEREAS, the Court’s order also indicates that the case schedule is to be further

discussed at the upcoming January 25, 2024 motion hearing.

       WHEREAS, the Parties met and conferred, and agreed on the proposed schedule attached

herewith.

       NOW THEREFORE, the Parties, through their undersigned counsel, hereby stipulate,

agree and respectfully request that the Court enter an Order in the form attached hereto as

Exhibit A, as may be modiﬁed and approved by the Court.




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                            EXHIBIT A: PROPOSED SCHEDULE

PURSUANT TO STIPULATION AND GOOD CAUSE SHOWING, IT IS SO ORDERED:

                              Event                                                Date
 Document Production Begins                                         April 1, 2024
 Date by which the parties, after good faith efforts, anticipate
 they will have substantially completed their production of
                                                                    July 1, 2024
 documents in response to discovery that is not subject to any
 pending dispute
 Close of Fact Discovery                                            September 30, 2024
 Opening Expert Reports Due                                         October 11, 2024
 Rebuttal Expert Reports Due                                        November 8, 2024
 Reply Expert Reports Due                                           November 22, 2024
 Close of Expert Discovery                                          December 20, 2024
 Opening MSJ/Daubert Briefs Due                                     January 10, 2025
 Opposition MSJ/Daubert Briefs Due                                  February 7, 2025
 Reply MSJ/Daubert Briefs Due                                       February 21, 2025
 Hearing on MSJ                                                     Set by Court


Date:                           , 2024
                                                      VINCE CHHABRIA
                                                      United States District Judge




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Dated: January 22, 2024             JOSEPH SAVERI LAW FIRM, LLP.

                                    By:         /s/ Joseph R. Saveri
                                                    Joseph R. Saveri

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Dated: January 22, 2024             CAFFERTY CLOBES MERIWETHER &
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                                    By:         /s/ Bryan L. Clobes
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Dated: January 22, 2024             COOLEY LLP

                                    By:        /s/ Bobby Ghajar
                                                  Bobby Ghajar

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                            L.R. 5-1 SIGNATURE ATTESTATION

       As the ECF user whose user ID and password are utilized in the filing of this document, I

attest under penalty of perjury that concurrence in the filing of the document has been obtained

from each of the other signatories.



Dated: January 22, 2024                           By:          /s/ Joseph R. Saveri
                                                                   Joseph R. Saveri




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